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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                               CASE NO. 20-61912-CIV-CANNON

  LARRY KLAYMAN,

         Plaintiff,
  v.

  INFOWARS, LLC, et al.,

         Defendants.
                                                                      /

                          ORDER DENYING PLAINTIFF’S MOTION
                           FOR LEAVE TO AMEND COMPLAINT

         THIS CAUSE comes before the Court upon Plaintiff’s Motion for Leave to Amend

  Complaint (the “Motion”) [ECF No. 53], filed on December 4, 2020. The Court has reviewed the

  Motion, the proposed Amended Complaint [ECF No. 53 pp. 3–43], Defendants’ Responses in

  Opposition to the Motion [ECF Nos. 54–55], and the full record, including the various Notices of

  Supplemental Authority and Responses Thereto [ECF Nos. 56, 59–63, 70–76]. For the reasons

  set forth below, Plaintiff’s Motion for Leave to Amend Complaint [ECF No. 53] is DENIED.

                        FACTUAL & PROCEDURAL BACKGROUND

         Plaintiff Larry Klayman initiated this action in the Seventeenth Judicial Circuit in and for

  Broward County, Florida on April 28, 2020, bringing defamation and Florida Deceptive and Unfair

  Trade Practices Act (“FDUTPA”) claims against InfoWars, LLC, Free Speech Systems, LLC,

  Alex Jones, David Jones, and Owen Shroyer (the “InfoWars Defendants”), and Roger Stone

  [ECF No. 1-1]. Those claims were based on statements that Roger Stone made as a guest on

  The Alex Jones Show and War Room (shows hosted by Alex Jones and Owen Shroyer,

  respectively) [ECF No. 1-1 ¶ 33]. The InfoWars Defendants removed the action to federal court
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  on the basis of diversity jurisdiction under 28 U.S.C. § 1332 [ECF No. 1], and subsequently moved

  to dismiss the Complaint for lack of jurisdiction and for failure to state a claim [ECF No. 5-1].

  Judge Darrin P. Gayles granted the motion to dismiss in part, identifying the Complaint as a

  shotgun pleading and dismissing it without prejudice [ECF No. 47]. That Order also gave Plaintiff

  an opportunity to “file a motion requesting leave to amend his complaint, with the proposed

  amended complaint attached, no later than December 4, 2020” [ECF No. 47]. Plaintiff took

  advantage of that opportunity, filing the instant Motion [ECF No. 53] with the proposed Amended

  Complaint contained therein [ECF No. 53 pp. 3–43]. The proposed Amended Complaint omits

  Roger Stone as a Defendant entirely and adds new claims for tortious interference and violation of

  the Lanham Act [ECF No. 53 pp. 3–43]. Specifically, the Amended Complaint accuses the

  InfoWars Defendants of violating federal and state law by publishing Roger Stone’s disparaging

  statements about Plaintiff and by causing frivolous bar complaints to be filed by non-parties

  against Plaintiff.   The InfoWars Defendants filed Responses in Opposition to the Motion

  [ECF Nos. 54–55], arguing that amendment would be futile.           The parties filed Notices of

  Supplemental Authority and Responses Thereto [ECF Nos. 56, 59–63, 70–76]. The Motion is ripe

  for adjudication.

                                       LEGAL STANDARD

         Courts need not grant leave to amend “where amendment would be futile.” Bryant v.

  Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001). Amendment is futile where “‘the complaint as

  amended is still subject to dismissal’ because, for example, it fails to state a claim for relief.”

  Chang v. JPMorgan Chase Bank, N.A., 845 F.3d 1087, 1094 (11th Cir. 2017) (quoting Hall v.

  United Ins. Co. of Am., 367 F.3d 1255, 1262–63 (11th Cir. 2004)).




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         Federal Rule of Civil Procedure 8(a)(2) requires a pleading to provide “a short and plain

  statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

  To satisfy the Rule 8 pleading requirements, a complaint must provide the defendant fair notice of

  what the plaintiff’s claim is and the grounds upon which it rests. Swierkiewicz v. Sorema N.A.,

  534 U.S. 506, 512 (2002). While a complaint “does not need detailed factual allegations,” it must

  provide “more than labels and conclusions” or “a formulaic recitation of the elements of a cause

  of action.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009) (explaining that the Rule 8(a)(2) pleading standard “demands more than an

  unadorned, the-defendant-unlawfully-harmed-me accusation”). Nor can a complaint rest

  on “‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678

  (quoting Twombly, 550 U.S. at 557 (alteration in original)). The Supreme Court has emphasized

  that “[t]o survive a motion to dismiss a complaint must contain sufficient factual matter, accepted

  as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at

  678 (quoting Twombly, 550 U.S. at 570); see also Am. Dental Assoc. v. Cigna Corp., 605 F.3d

  1283, 1288–90 (11th Cir. 2010). Moreover, when reviewing a motion to dismiss, a court must

  accept the plaintiff’s allegations as true and evaluate all plausible inferences derived from those

  facts in favor of the plaintiff. See Iqbal, 556 U.S. at 678; Chaparro v. Carnival Corp., 693 F.3d

  1333, 1337 (11th Cir. 2012). A court is generally limited to the facts contained in the complaint

  and attached exhibits, including documents referred to in the complaint that are central to

  the claim. See, e.g., Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 959 (11th Cir. 2009).

         “Shotgun pleadings” violate Rule 8(a)(2). Weiland v. Palm Beach Cnty. Sheriff’s Off., 792

  F.3d 1313, 1320 (11th Cir. 2015). The Eleventh Circuit has “identified four rough types or

  categories of shotgun pleadings,” including: (1) a complaint “containing multiple counts where




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  each count adopts the allegations of all preceding counts,” (2) a complaint that is “replete with

  conclusory, vague, and immaterial facts not obviously connected to any particular cause of action,”

  (3) a complaint that does “not separat[e] into a different count each cause of action or claim for

  relief,” and (4) a complaint that “assert[s] multiple claims against multiple defendants without

  specifying which of the defendants are responsible for which acts or omissions, or which of the

  defendants the claim is brought against.” Id. at 1321–23. More broadly, “[a] dismissal under

  Rules 8(a)(2) and 10(b) is appropriate where ‘it is virtually impossible to know which allegations

  of fact are intended to support which claim(s) for relief.’” Id. at 1325 (emphasis in original)

  (quoting Anderson v. Dist. Bd. of Trustees of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir.

  1996)).

                                            DISCUSSION

            Plaintiff’s proposed Amended Complaint seeks to bring the following claims against each

  of the InfoWars Defendants: defamation (Count I), defamation per se (Count II), defamation by

  implication (Count III), false advertising in violation of the Lanham Act (Count IV), violation of

  FDUTPA (Count V), and tortious interference (Count VI) [ECF No. 53 pp. 17–43]. The InfoWars

  Defendants raise a variety of arguments in opposition to the Motion, some of which are Defendant-

  specific [ECF Nos. 54–55]. The primary thrust of their responses, however, is that amendment is

  futile because the proposed Amended Complaint constitutes a shotgun pleading and fails to state

  any claim under Rule 12(b)(6). The Court agrees.

            The proposed Amended Complaint is a shotgun pleading because it is “replete with

  conclusory, vague, and immaterial facts.” Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d

  1313, 1322 (11th Cir. 2015). For example, the Amended Complaint discusses the Mueller




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  investigation and the criminal prosecution of Roger Stone at length [ECF No. 53 pp. 5, 7–10] 1;

  references Roger Stone’s comments about “Mafia figures” [ECF No. 53 p. 5]; expressly

  incorporates allegations regarding an inheritance dispute between Defendant Alex Jones and his

  ex-wife [ECF No. 53 p. 15]; introduces non-party Michael Flynn’s views of a former client

  (another non-party) [ECF No. 53 p. 17]; and accuses the InfoWars Defendants of selling

  “questionable if not bogus” products [ECF No. 53 p. 7]. Any connections that the Amended

  Complaint purports to draw between these immaterial allegations and the claims at issue are

  tenuous, at best. See Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001) (recognizing that

  pleadings are defective when any material allegations “are buried beneath innumerable pages of

  rambling irrelevancies”). Further, the Amended Complaint repeats, at numerous points, the

  conclusory and vague allegation that each of the InfoWars Defendants is liable for publishing and

  ratifying all of the statements by Roger Stone that are at issue [ECF No. 53 pp. 5, 7, 9–14, 16,

  19–21, 23–30, 32–36, 38–41].        The Amended Complaint does so without providing any

  meaningful distinctions between the statements made or defendants being sued, leaving the Court

  to speculate as to the involvement of each Defendant in the publication of each statement.

  Moreover, the Amended Complaint accuses the InfoWars Defendants of engaging in “fraudulent

  behaviors . . . for profit,” without attempting to tie that accusation to any of the proposed causes

  of action [ECF No. 53 p. 6]. These improper allegations are scattered throughout, 2 and whatever



  1
   The Amended Complaint accuses the InfoWars Defendants of being part of a conspiracy with
  Roger Stone to influence the Mueller investigation and to coerce false testimony in violation of
  18 U.S.C. § 1512 [ECF No. 53 pp. 7, 9].
  2
    The Court also notes that the Amended Complaint, as a general matter, contains other
  questionable passages: it appears to erroneously reference a second plaintiff at one point
  [ECF No. 53 p. 4]; it repeats many allegations over and over again, verbatim, rather than simply
  reincorporate them into the relevant counts [see ECF No. 53 pp. 19–21, 23–25, 28–30, 33–34,
  38–40]; and it is littered with personal insults directed at Plaintiff’s enemies, bearing no


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  proper allegations the Amended Complaint does bring fail to state any plausible claims against the

  InfoWars Defendants.

         The Amended Complaint tries to tell a story of an interconnected web of unlawful actions,

  but leaves readers entirely confused as to the role(s) played by each Defendant and why the obvious

  main characters are excluded from this action. Moreover, nearly all of the disparaging statements

  underlying Counts I–V simply express opinions and insults about Plaintiff, rather than actionable

  false or misleading statements of fact. 3 The two statements that carry greater significance are

  Roger Stone’s alleged representations during an episode of War Room that Plaintiff was ousted

  from Judicial Watch because of a sexual harassment complaint and that Plaintiff has “never

  actually won a courtroom victory in his life” [ECF No. 53 pp. 12–13], but those statements are

  hamstrung for purposes of this action by the Amended Complaint’s total failure to describe, with

  any detail, the relevant acts and/or omissions of each of the InfoWars Defendants. Count VI,

  meanwhile, is rooted in allegations that the InfoWars Defendants, as a group, “caused to be filed



  meaningful connection to the proposed claims [ECF No. 53 p. 4 (calling Defendant Alex Jones an
  “extreme and totally discredited ‘conspiracy theorist’”); ECF No. 53 p. 5 (calling Roger Stone a
  “[d]irty [t]rickster” who patterns himself after “unsavory persons”); ECF No. 53 p. 11 (referring
  to the InfoWars Defendants’ online content as a “cancerous virus”); ECF No. 53 p. 17 (identifying
  non-parties by name and calling one a “convicted felon” and the other “a widely recognized
  fraudster,” and then citing Wikipedia)].
  3
    The Amended Complaint alleges that the InfoWars Defendants are liable for publishing the
  following statements by Roger Stone:

         “[Plaintiff is] incompetent, he’s a numbskull, he’s an idiot, he’s an egomaniac, and
         he could be the worst lawyer in America. With him as Jerry Corsi’s lawyer, Corsi
         may get the electric chair. So your idea that he’s a good guy is entirely wrong”
         [ECF No. 53 p. 13];

         “[Plaintiff is a] piece of garbage” [ECF No. 53 p. 14]; and

         “For those people out there who think . . . that [Plaintiff’s] IQ is higher than 70,
         you’re wrong . . . .” [ECF No. 53 p. 14].


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  and then financed frivolous bar complaints from Pete Santilli and Dennis Montgomery”

  [ECF No. 53 p. 41]. Absent from Count VI is any allegation plausibly tying the InfoWars

  Defendants to those bar complaints. 4 Thus, the proposed Amended Complaint, as a whole, would

  be subject to dismissal under Rule 12(b)(6) if filed.

         The shotgun nature of the proposed Amended Complaint is reason enough to deny the

  instant Motion and dismiss this action. As the Eleventh Circuit has recognized, district courts

  ought to give plaintiffs an opportunity to replead after dismissing a shotgun pleading, but need not

  “endure endless shotgun pleadings.” Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1297 (11th Cir.

  2018); see Weiland, 792 F.3d at 1321 n.10 (“Where a plaintiff fails to make meaningful

  modifications to her complaint, a district court may dismiss the case under the authority of either

  Rule 41(b) or the court’s inherent power to manage its docket.”). In this case, Judge Gayles

  previously dismissed Plaintiff’s Complaint for being a “shotgun pleading” and drew Plaintiff’s

  attention to the four types of shotgun pleading identified in Weiland [ECF No. 47]. Moreover, in

  a separate action brought by Plaintiff against the same Defendants, Judge Altman held that

  Plaintiff’s complaint—which was substantially identical to the one proposed here—constituted a

  shotgun pleading because it was “littered with ostentatious irrelevancy.” Klayman v. Infowars,



  4
    The Amended Complaint alleges that Defendant Alex Jones “[told] Pete Santilli that [Roger]
  Stone recommended him” [ECF No. 53 p. 41]. The Amended Complaint also alleges that, during
  a deposition in another case, Plaintiff and Roger Stone shared the following exchange:

         Plaintiff: I look forward to having you there.
         Roger Stone: Yeah, me too.
         Plaintiff: If you’re not in prison at that time.
         Roger Stone: If you’re not disbarred by then.

  [ECF No. 53 p. 41]. These allegations, which make up the entirety of the Amended Complaint’s
  attempts to connect the InfoWars Defendants to the bar complaints at issue, do not support a
  plausible claim of tortious interference by the InfoWars Defendants.



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  LLC et al., No. 20-80614-CV-RKA, ECF No. 4 p. 2 (S.D. Fla. Apr. 13, 2020). 5 Therefore, Plaintiff

  has been given multiple opportunities to file a pleading that complies with Rule 8, and has been

  put on notice as to what constitutes a shotgun pleading, but again has failed to present the Court

  with a permissible pleading. No additional opportunity to replead is warranted.

                                          CONCLUSION

           Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

        1. Plaintiff’s Motion for Leave to Amend Complaint [ECF No. 53] is DENIED.

        2. This action is DISMISSED WITH PREJUDICE.

        3. The Clerk is directed to CLOSE this case.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida this 25th day of March 2022.




                                                       _________________________________
                                                       AILEEN M. CANNON
                                                       UNITED STATES DISTRICT JUDGE
  cc:      counsel of record




  5
   Rather than file an amended complaint in that action, Plaintiff chose to voluntarily dismiss the
  matter pursuant to Rule 41(a)(1)(A)(i). See Klayman, No. 20-80614-CV-RKA, ECF Nos. 5–6.
  Two weeks later, Plaintiff initiated this action in state court [ECF No. 1-1].


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